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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

 UNITED STATES OF AMERICA                       )
                                                )
                        v.                      )      CAUSE NO. 2:16-CR-174-RL-JEM
                                                )
 VICTOR DAVIS,                                  )
                                Defendant.      )

  AMENDED FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
         UPON A PLEA OF GUILTY BY DEFENDANT VICTOR DAVIS

 TO:     THE HONORABLE RUDY LOZANO,
         UNITED STATES DISTRICT COURT

         Upon Defendant Victor Davis’s request to enter a plea of guilty pursuant to Rule 11 of the

 Federal Rules of Criminal Procedure, this matter came for hearing before Magistrate Judge John E.

 Martin on July 19, 2017, with the consent of Defendant Davis, counsel for Defendant Davis, and

 counsel for the United States of America.

         The hearing on Defendant Davis’s plea of guilty was in full compliance with Rule 11,

 Federal Rules of Criminal Procedure, before the Magistrate Judge in open court and on the record.

         In consideration of that hearing and the statements made by Defendant Davis under oath on

 the record and in the presence of counsel, the remarks of the Assistant United States Attorney and

 of counsel for Defendant Davis,

         I FIND as follows:

         (1) that Defendant Victor Davis understands the nature of the charge against him to which

 the plea is offered;

         (2) that Defendant Victor Davis understands his right to trial by jury, to persist in his plea

 of not guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses,

 and his right against compelled self-incrimination;
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        (3) that Defendant Victor Davis understands what the maximum possible sentence is,

 including the effect of the supervised release term, and Defendant Victor Davis understands that the

 sentencing guidelines apply and that the Court may depart from those guidelines under some

 circumstances;

        (4) that the plea of guilty by Defendant Victor Davis has been knowingly and voluntarily

 made and is not the result of force or threats or of promises;

        (5) that Defendant Victor Davis is competent to plead guilty;

        (6) that Defendant Victor Davis understands that her answers may later be used against him

 in a prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant Victor Davis’s plea; and further,

        I RECOMMEND that the Court accept Victor Davis’s plea of guilty to the offense charged

 in Count 1 of the Second Superseding Indictment and that Defendant Victor Davis be adjudged

 guilty of the offense charged in Count 1 of the Second Superseding Indictment and have sentence

 imposed. A Presentence Report has been ordered. Should this Report and Recommendation be

 accepted and Victor Davis be adjudged guilty, sentencing before Senior Judge Rudy Lozano will

 be set at a later date by separate order. Objections to the Findings and Recommendation are waived

 unless filed and served within fourteen (14) days. See 28 U.S.C. § 636(b)(1).

        So ORDERED this 22nd day of August, 2017.

                                                       s/ John E. Martin
                                                       MAGISTRATE JUDGE JOHN E. MARTIN
                                                       UNITED STATES DISTRICT COURT
 cc:    All counsel of record
        Honorable Rudy Lozano
